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                     THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION



  ELIZABETH LUNA BASTIDAS; L. M. C., by and                      Civil Case No. : _____________
  through her mother and natural guardian, Elizabeth
  Luna Bastidas; M.S.C., by and through his mother
  and natural guardian, Elizabeth Luna Bastidas; and
  CARMEN ROSA BASTIDAS,

                                          Plaintiffs,          PLAINTIFFS’ COMPLAINT AND
                                                                 DEMAND FOR JURY TRIAL
             - against -

  MARSHALL CURTISS JUSTICE; FIRST COAST
  ELECTRIC, LLC; CHEROKEE FABRICATION,
  INC.; JAMES R. MAGER; and JAMES
  AYLESWORTH,

                                          Defendants.


                 Plaintiffs, Elizabeth Luna Bastidas (“Elizabeth Bastidas”); L.M.C.;

  M.S.C.; and Carmen Rosa Bastidas (“Carmen Bastidas”), by and through their

  undersigned counsel (and, where applicable, by and through their natural guardian as

  captioned above), as and for their Complaint in this action, hereby allege as follows:

                                PRELIMINARY STATEMENT

                 1.        This is a personal injury case in which Plaintiff Elizabeth Bastidas

  was involved in an accident, to wit, she was violently struck on the head and body by a

  fast moving tire that had separated from a moving vehicle, i.e., a trailer being towed by a

  motor vehicle on a public highway.

                 2.        Plaintiff Elizabeth Bastidas is a thirty (30) year old woman who, at

  the time of the accident on March 28, 2010, was lawfully situated on the left

  shoulder/service lane of a public highway (as further identified below) immediately

  outside of and adjacent to a motor vehicle, to wit, a red 2003 Lincoln Navigator (SUV)
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  bearing New York State license number DTC6350 (the “Plaintiffs’ Vehicle”), which

  vehicle itself was situated on said left shoulder/service lane.

                 3.      Plaintiffs’ Vehicle was stopped on said shoulder/service lane

  because said vehicle, in which Plaintiff Elizabeth Bastidas had been an occupant prior to

  the accident, had broken down (it had sustained a flat tire).

                 4.      While innocently waiting for the malfunctioning vehicle to become

  mobile again, Plaintiff Elizabeth Bastidas was suddenly, and without any warning, struck

  with great force on the head and body by a fast moving trailer tire which had separated

  from the trailer on which it had previously been mounted and had continued separately

  along the highway.

                 5.      The vehicle-trailer combination which caused this accident was

  traveling on the same highway as was Plaintiffs’ Vehicle but in the opposite direction

  thereof.

                 6.      The subject trailer tire, after separating from the trailer to which it

  had been affixed, bounded and bounced separately along the highway and violently

  struck Elizabeth Bastidas as it crossed the highway median thereby causing serious and

  permanent personal injuries to said Plaintiff.

                 7.      This is a civil action whereby Plaintiff Elizabeth Bastidas now

  brings claims for relief for, among other things, negligence as against the individual who

  owned the motor vehicle that was towing the aforesaid trailer and who operated the

  subject vehicle-trailer combination, as well as negligence/products liability claims



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  against all Defendants herein including, but not limited to, the seller, purchaser, lessor,

  designer and/or manufacturer of the defective trailer.

                 8.      The remaining plaintiffs bring claims for relief because they are all

  immediate family members of Elizabeth Bastidas who were: (i) present at the scene and

  time of the subject accident, (ii) within the zone of danger with respect to said accident,

  (iii) witnesses to the accident, its immediate aftermath and/or Plaintiff Elizabeth

  Bastidas’ injuries, and (iv) injured as a result thereof including, but not limited to, the

  sustainment of, among other things, mental, emotional and/or psychological distress and

  injuries.

                 9.      Plaintiff Carmen Bastidas brings a derivative claim for, among

  other things, the loss of society of her natural daughter, Plaintiff Elizabeth Bastidas and

  all the Plaintiffs allege gross negligence warranting of punitive damages.

                 10.     Plaintiffs did not in any way contribute to the happening of the

  accident and there is, or should be, no dispute as to the happening of the accident

  inasmuch as the entire incident was captured on digital media by a video recording

  device situated on a police vehicle that had responded to the scene of the breakdown of

  the Plaintiffs’ Vehicle, which police vehicle was itself also struck by the tire at issue.


                                        THE PARTIES
                                         PLAINTIFFS

                 11.     Plaintiff Elizabeth Bastidas is an individual residing in the County

  of Queens, City and State of New York.



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                 12.       Plaintiff L.M.C. is a minor, to wit, a nine (9) year old female

  individual who is the natural daughter and natural ward of Plaintiff Elizabeth Bastidas

  and is a resident of the County of Queens, City and State of New York.

                 13.       Plaintiff M.S.C. is a minor, to wit, an eight (8) year old male

  individual who is the natural son and natural ward of Plaintiff Elizabeth Bastidas and is a

  resident of the County of Queens, City and State of New York.

                 14.       Plaintiff Carmen Bastidas is a fifty-nine (59) year old woman who

  is the natural mother of Plaintiff Elizabeth Bastidas and is a resident of the County of

  Queens, City and State of New York.

                                        DEFENDANTS

                 15.       Upon information and belief, Defendant Marshall Curtiss Justice

  (“Justice”) is a fifty-six (56) year old male individual residing in the City of Jacksonville,

  County of Duval, State of Florida.

                 16.       At all relevant times, Defendant Justice was, among other things:

  (i) the owner of the vehicle towing/pulling the trailer from which the trailer tire became

  separated as aforesaid; (ii) the operator of the vehicle-trailer combination that caused the

  subject accident; and (iii) the lessee of the trailer from which the aforesaid injury-causing

  tire became separated.

                 17.        Upon information and belief Defendant First Coast Electric, LLC

  (“First Coast”) was and is a Florida Limited Liability Company with its principal place of

  business located in the City of Jacksonville, County of Duval and State of Florida.



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                  18.   At all relevant times, Defendant First Coast was the purchaser,

  owner, and/or lessor of the trailer from which the trailer tire became separated as

  aforesaid.

                  19.     Upon information and belief Defendant Cherokee Fabrication,

  Inc. (“Cherokee”) was and is a Florida Profit Corporation with its principal place of

  business located in the City of Ocala, County of Marion and State of Florida.

                  20.   At all relevant times, Defendant Cherokee was, among other

  things, the designer, manufacturer, assembler, fabricator and/or seller of the aforesaid

  trailer.

                  21.     Upon information and belief Defendant James Mager (“Mager”)

  was and is an adult individual residing in the City of Ocala, County of Marion and State

  of Florida.

                  22.   Upon information and belief, Defendant Mager was and is an

  owner and/or principal of co-defendant herein, Cherokee, to wit, its President, and was,

  among other things, a designer, manufacturer, assembler, fabricator and/or seller of the

  aforesaid trailer.

                  23.      Upon information and belief Defendant James Aylesworth,

  (“Aylesworth”) was and is an adult individual residing in the City of Ocala, County of

  Marion and State of Florida.

                  24.   Upon information and belief, Defendant Aylesworth was and is an

  owner and/or principal of co-defendant herein, Cherokee, to wit, its Vice-President, and


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  was, among other things, a designer, manufacturer, assembler, fabricator and/or seller of

  the aforesaid trailer.

                                JURISDICTION AND VENUE

                  25.      This Court has jurisdiction over this dispute pursuant to 28 U.S.C.

  § 1332 (a)(1) in that all of the Plaintiffs are citizens of a state of the United States (New

  York) that is different from the state of which all Defendants are citizens (Florida), and

  the amount in controversy between these citizens exceeds the sum of Seventy-Five

  Thousand Dollars ($75,000).

                  26.      Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(1)

  because the first named defendant, i.e., Defendant Justice, resides in Jacksonville, Florida

  and all of the remaining defendants also reside in the state of Florida.

                                      ACCIDENT FACTS

                  27.      The accident at issue occurred on March 28, 2010 at

  approximately 5:30 p.m. on a paved, public, principal arterial interstate highway known

  as and designated as U.S. Interstate 95 (“I-95”)(which highway runs generally in two

  directions, to wit, north and south), in or around the City of Waverly, County of Camden,

  within the State of Georgia, and more specifically in the far most left lane, to wit, the left

  shoulder/service lane of the southbound portion of I-95, which lane was and is adjacent

  to the median separating the northbound and southbound lanes of said highway, and more

  specifically at or near the following intersection or geographic point(s) on said highway,

  95S MM23 X2 [Horsestamp Church Road], Latitude N 31 3.7656, Longitude W 81

  37.9530 (hereafter, the “Accident Site”), all as set forth in a “State of Georgia Traffic


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  Crash Report” issued by the Georgia State Patrol dated March 28, 2010 and bearing case

  number C000022451. An official copy of said accident report is annexed hereto and

  made part hereof as Exhibit “A” and its contents are incorporated herein as if more fully

  set forth.

                 28.    Said highway has a posted speed limit of seventy (70) miles per

  hour.

                 29.    Prior to the accident at issue, Plaintiff Elizabeth Bastidas had been

  an occupant in Plaintiffs’ Vehicle, which vehicle had been traveling southbound on I-95

  approaching the Accident Site.

                 30.    At some point prior to the accident at issue, Plaintiffs’ Vehicle

  became disabled whereupon said vehicle was stopped on the left shoulder/service lane at

  the Accident Site and Plaintiffs Elizabeth Bastidas and M.S.C. exited the vehicle.

                 31.    At some point in time before the accident, at a geographical point

  south of the Accident Site along I-95 and travelling northbound on I-95 (most likely in

  the center lane), Defendant Justice was operating a vehicle which he owned, to wit, a

  2002 silver Ford pick-up truck bearing Florida license plate N95511 (the “Truck”), which

  vehicle was pulling, hauling or towing a trailer that Defendant Justice had leased from

  Defendant First Coast, to wit, a white, 2003 Cherokee (or “Cherokee Fabrication”)

  “Heavy Haul” commercial trailer, which trailer was twelve feet (12’) in length with two

  (2) axles, bearing Florida license plate 499YCF and bearing Vehicle Identification




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  Number 4RMES14223F002562 (the “Trailer”)(when referred to collectively hereafter,

  the “Truck-Trailer Combination”).

                 32.    At some point in time before the accident (most likely a few

  seconds or a few moments prior thereto), and south of the accident site along I-95 (most

  likely less than a mile south thereof), the rear left tire (and/or wheel) of the Trailer

  separated from the Trailer and continued separately along I-95 in a northerly direction,

  bouncing and bounding along as it approached the Accident Site and Plaintiff Elizabeth

  Bastidas.

                 33.    While situated on the aforesaid shoulder/service lane adjacent to

  Plaintiffs’ Vehicle, Plaintiff Elizabeth Bastidas was violently and directly struck by said

  tire with great force on the head and body, which collision and impact caused Plaintiff

  Elizabeth Bastidas to strike the ground with great force and impact, all of which thereby

  caused serious personal and permanent injuries to said plaintiff including, but not limited

  to, closed head injuries, brain injuries, fractures of the spine and clavicle as well as

  psychological injuries.

                 34.    After striking and injuring Plaintiff Elizabeth Bastidas as

  aforesaid, said tire continued along its rapid trajectory and missed striking Plaintiff

  M.S.C. by mere inches then continued along and collided with a police vehicle (as

  identified below), then continued further along crossing three (3) lanes of highway (i.e.,

  I-95 southbound) and then travelled into a wooded area to the right of the I-95

  southbound lanes.




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                  35.     In traveling along the highway and striking Plaintiff Elizabeth

  Bastidas as aforesaid, and missing Plaintiff M.S.C. as aforesaid, said tire narrowly missed

  striking the other plaintiffs herein as well.

                  36.     Approximately sixteen to seventeen (16-17) minutes prior to the

  aforesaid accident, a Georgia State Patrol police cruiser, to wit, a 2007 Ford Crown

  Victoria bearing Georgia state license plate GV29310, arrived at the Accident Site and

  stopped behind Plaintiffs’ Vehicle and remained there continuously until the accident

  occurred.

                  37.     A video recording device mounted on said police cruiser began

  continuous video recording of the objects then and there existing, and the events then and

  there transpiring, in front of said police cruiser including, but not limited to, the aforesaid

  tire striking one plaintiff and missing another plaintiff as aforesaid, a copy of which

  video recording is currently in the possession of Plaintiffs’ attorneys.

                  38.     The operator of the cruiser, to wit, Georgia State Patrol Officer

  Ernest Leon Hamilton, created and prepared a “State of Georgia Traffic Crash Report”

  bearing the aforesaid case number and the crash number “C000022451-01.”

                  39.     The aforesaid accident occurred in daylight, happened in clear and

  dry weather and, upon information and belief, involved no other vehicles.




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                        ADDITIONAL FACTS AND ALLEGATIONS
                        COMMON TO ALL CLAIMS FOR RELIEF


                  40.    The following facts and/or allegations are alleged upon

   information and belief, are alleged with respect to all other relevant times in addition to

   the times mentioned and are common to all claims for relief unless otherwise indicated.

                  41.    At the time of the accident and in the moments prior thereto,

   Defendant Justice was the sole, exclusive and registered owner of the Truck.

                  42.    At the time of the accident and in the moments prior thereto,

   Defendant Justice was the sole and exclusive occupant of the Truck.

                  43.    At the time of the accident and in the moments prior thereto,

   Defendant Justice was the sole and exclusive lessee of the Trailer pursuant to a leasing

   contract/agreement with Defendant First Coast.

                  44.    At the time of the accident and in the moments prior thereto,

   Defendant Justice was the sole and exclusive driver and/or operator of the Truck, the

   Trailer and/or the Truck-Trailer Combination.

                  45.    At the time of the accident and in the moments prior thereto,

   Defendant Justice was the sole and exclusive user of the Truck, the Trailer and/or the

   Truck-Trailer Combination.

                  46.    At the time of the accident and in the moments prior thereto,

   Defendant Justice exercised sole and exclusive supervision over the Truck, the Trailer

   and/or the Truck-Trailer Combination.


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                  47.     At the time of the accident and in the moments prior thereto,

   Defendant Justice had sole and exclusive control of the Truck, the Trailer and/or the

   Truck-Trailer Combination.

                  48.     At the time of the accident and prior thereto, Defendant Justice had

   sole and exclusive use and possession of the Truck, the Trailer and/or the Truck-Trailer

   Combination.

                  49.     At the time of the accident and in the moments prior thereto,

   Defendant Justice was the sole and exclusive transporter, tower, puller and/or hauler of

   the Trailer.

                  50.     At the time of the accident and prior thereto, Defendant Justice

   was responsible for the maintenance, inspection and/or repair of the Truck, the Trailer

   and/or the Truck-Trailer Combination and its component parts including, but not limited

   to, the tires of the Trailer including, but not limited to, the tire that became separated as

   aforesaid.

                  51.     At the time of the accident and prior thereto, Defendant Justice

   was responsible for maintaining the integrity of the Trailer and its tires including, but not

   limited to, assuring that the Trailer’s tires remained attached and affixed to the Trailer,

   especially while the Trailer was in motion.

                  52.     At the time of the accident and prior thereto, Defendant Justice

   was responsible for hitching together or connecting the Truck and the Trailer, and

   assuring that said vehicles remained connected and intact, as well as responsible for the



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   maintenance, inspection and/or repair of the connective parts, elements and factors with

   respect to the Truck-Trailer combination.

                   53.     At the time of the accident and prior thereto, Defendant First Coast

   was the sole, exclusive and registered owner of the Trailer.

                   54.     At the time of the accident and prior thereto, Defendant First Coast

   was the sole and exclusive lessor of the Trailer.

                   55.     At the time of the accident and prior thereto, Defendant First Coast

   was, among other things, a lessor in the business of leasing items for profit or otherwise

   including, but not limited to, items such as vehicle trailers and including, but not limited

   to, the specific Trailer at issue in this case.

                   56.     At the time of the accident and prior thereto, Defendant First Coast

   had leased the Trailer to Defendant Justice pursuant to a leasing contract/agreement with

   said defendant.

                   57.     At the time of the accident and prior thereto, Defendant Justice had

   the lawful, actual, express and/or implied knowledge, consent and/or permission of

   Defendant First Coast to lease, use, tow, haul, control, transport and/or operate the

   Trailer including, but not limited to, operate/tow the Trailer as aforesaid on a public

   highway/thoroughfare.

                   58.     At the time of the accident and prior thereto, Defendant Justice

   was an agent, servant, and/or employee of Defendant First Coast and/or was otherwise

   engaged in the business of First Coast.


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                   59.     At the time of the accident and prior thereto, Defendant First Coast

   was the sole and exclusive purchaser of the Trailer.

                   60.     Prior to the accident, Defendant First Coast had purchased the

   Trailer from Defendants herein, Cherokee, Mager and/or Aylesworth.

                   61.     Prior to the accident, Defendants herein, Cherokee, Mager and/or

   Aylesworth were the sole and exclusive seller(s) of the Trailer and had sold said Trailer

   to Defendant First Coast and/or manufactured said Trailer on First Coast’s behalf.

                   62.     At all relevant times, Defendants herein, Cherokee, Mager and/or

   Aylesworth solely and exclusively designed the Trailer.

                   63.     At all relevant times, Defendants herein, Cherokee, Mager and/or

   Aylesworth solely and exclusively manufactured, constructed, produced, built, created,

   crafted, assembled and/or fabricated the Trailer.

                   64.     All of the within defendants are jointly and severally liable.

                   65.     Defendants are vicariously liable for the acts, conduct, negligence

   and/or omissions of their agents, servants and/or employees as set forth herein or as the

   evidence will disclose.

                   66.     No limitations on liability as set forth in any relevant common

   laws or statutory laws are applicable to this action.

                   67.     In the event of a conflict of laws, New York State law should

   apply to this action to the extent it benefits the Plaintiffs.




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                   68.     The complained of accident and injuries occurred without any

   fault, want of care, culpable conduct, voluntary conduct or negligence on the part of the

   plaintiffs contributing thereto.

                   69.     Defendants’ conduct, as set forth herein, was a substantial factor

   and/or a proximate cause of the accident and injuries complained of.

                   70.     The accident at issue and the consequent injuries were foreseeable

   and/or Plaintiffs were within the zone of risk applicable to each claim for relief.

                   71.     With respect to the product liability claims for relief,

   notwithstanding Plaintiffs’ lack of direct privity with Defendants, Plaintiffs were

   nonetheless within the class of persons to be protected by applicable, relevant and/or

   enacted laws, statutes and/or rules.

                   72.     With respect to the product liability claims for relief,

   notwithstanding Plaintiffs’ lack of direct privity with Defendants, Plaintiffs were

   nonetheless within the class of persons who could reasonably be expected to be harmed

   by the defective product and/or the product’s failure.

                   73.     Notwithstanding the separate claim for relief sounding in res ipsa

   loquitur, Plaintiffs are entitled to a res ipsa loquitur charge or inference to support all of

   their other claims for relief.

                   74.     With respect to all the product liability claims for relief, the defect

   in the defective product at issue includes, but is not limited to, that defect which

   prevented the Trailer’s tire from remaining affixed to the Trailer.


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                    75.   With respect to the product liability claims for relief, the product at

   issue malfunctioned during normal operations; thus, if Florida law is found to apply to

   this action, Plaintiffs are entitled to a legal inference of product defectiveness and/or a

   “Cassisi charge” as per Cassisi v. Maytag Co., 396 So. 2d 1140, 1145 (Fla. 1st DCA

   1981).

                                 FIRST CLAIM FOR RELIEF

             (Negligent Vehicle Ownership/Operation as Against Defendant Justice)

                    76.   Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.

                    77.   Defendant Justice had a duty to own, use and/or operate the Truck-

   Trailer combination and/or the Trailer in a safe and reasonable manner and said

   defendant breached that duty by virtue of his acts, conducts and/or omissions as set forth

   herein.

                    78.   The aforesaid accident and injuries were caused wholly and solely

   by the negligence, carelessness, lack of care, recklessness, departure from standards of

   care and/or wanton disregard of the safety of others on the part of Defendant Justice, his

   agents, servants and/or employees, in the ownership of the Truck.

                    79.   The aforesaid accident and injuries were caused wholly and solely

   by the negligence, carelessness, lack of care, gross negligence, recklessness, departure

   from standards of care and/or wanton disregard of the safety of others on the part of

   Defendant Justice, his agents, servants and/or employees, in the driving, transporting,




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   operation, use, possession, control, and/or supervision of the Truck-Trailer combination

   and/or the Trailer and/or in negligently failing to give warning of the known dangers

   presented by the dangerous and defective Trailer.

                  80.        The aforesaid accident and injuries were caused wholly and solely

   by the negligence, carelessness, lack of care, recklessness, departure from standards of

   care and/or wanton disregard of the safety of others on the part of Defendant Justice, his

   agents, servants and/or employees, in the leasing of the Trailer as well as the hitching,

   towing, transporting, hauling and/or pulling thereof.

                  81.        The aforesaid accident and injuries were caused wholly and solely

   by the negligence, carelessness, lack of care, gross negligence, recklessness, departure

   from standards of care and/or wanton disregard of the safety of others on the part of

   Defendant Justice, his agents, servants and/or employees, in the servicing, maintenance,

   inspection and/or repair of the Truck-Trailer combination and/or the Trailer including,

   but not limited to, the Trailer’s tires including, but not limited to, the tire which became

   separated as aforesaid.

                  82.        The aforesaid accident and injuries were caused wholly and solely

   by Defendant Justice’s heedless disregard of the rights of others and his violation of

   traffic and other laws, rules and regulations including, but not limited to, the following:

   (i) Title 40, Chapter 8, Part 1 of the Georgia State Code (titled, “Driving unsafe or
   improperly equipped vehicle ...”), O.C.G.A. § 40-8-7(a) et seq.; and, (ii) Title 40, Chapter
   8, Part 4 of the Georgia State Code (titled, “Tires”), O.C.G.A. § 40-8-74 and its
   subsections including subsections (a)-(c) and (e) thereof.




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                  83.     As a result of the foregoing, Plaintiff Elizabeth Bastidas suffered

   and sustained serious, personal and, upon information and belief, permanent and

   protracted injuries as well as serious and significant economic loss, and other losses and

   damages all in excess of any applicable threshold statutes and jurisdictional limits of this

   Court.

                  84.     As a result of the foregoing, Plaintiff Elizabeth Bastidas was

   severely injured and suffered bodily injury, disability, disfigurement, mental anguish,

   emotional distress, and loss of enjoyment of life; was rendered sick, sore, lame and

   disabled; endured severe and extensive pain and suffering; required extensive hospital,

   medical and nursing care and attention and, upon information and belief, will require

   more of the same in the future; was compelled to expend large sums of money for such

   care and attention and, upon information and belief, will be so compelled in the future;

   was confined to her bed and home as a result thereof and, upon information and belief,

   will be so confined in the future; suffered lost earnings, loss of ability to earn money and

   other economic damages; was unable to participate in her usual occupations and

   activities; suffered lost opportunities; and was otherwise damaged. The losses are either

   permanent or continuing and plaintiff will suffer the losses in the future.

                  85.     As a result of the foregoing, Plaintiffs L.M.C., M.S.C. and Carmen

   Bastidas sustained serious personal injuries including psychological injuries, mental

   anguish, emotional distress and consequent sequalae including, but not limited to, loss of

   enjoyment of life; were rendered sick and disabled; required medical care and attention

   and, upon information and belief, will require more of the same in the future; were


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   compelled to expend sums of money for medical care and attention and, upon

   information and belief, will be so compelled in the future; were confined to their bed and

   home as a result thereof and, upon information and belief, will be so confined in the

   future; suffered lost earnings and/or other economic damages; were unable to participate

   in their usual occupations and activities; suffered lost opportunities; and were otherwise

   damaged.     The losses are either permanent or continuing and plaintiff will suffer the

   losses in the future.

                   86.     As a result of the foregoing, all of the within Plaintiffs have been

   injured and damaged, and Plaintiffs are thereby entitled to a damages award in an amount

   that exceeds the jurisdictional limits of this Court.

                               SECOND CLAIM FOR RELIEF

              (Negligent Vehicle Ownership, Leasing, Inspection, Repair, etc.
                            as Against Defendant First Coast)

                   87.     Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.

                   88.     Subsequent to its purchase of the Trailer, and at and prior to the

   time of the accident, Defendant First Coast was engaged in the business of leasing the

   Trailer for profit and for use, among other things, in transport on public highways.

                   89.     Defendant First Coast had a non-delegable duty to properly own,

   lease, service, hitch, connect, maintain, inspect and/or repair said Trailer in a safe and

   reasonable manner and to ensure that said vehicle was safe and fit for use on a public

   highway.



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                  90.     Defendant First Coast breached that duty by virtue of its acts,

   conducts and/or omissions as set forth herein.

                  91.     Subsequent to its purchase of the Trailer, and continuing through

   the time of the accident, Defendant First Coast had sole and exclusive ownership,

   possession, control, supervision and/or access to the Trailer.

                  92.     As a result, Defendant First Coast was solely and exclusively

   responsible for the servicing, supervision, hitching, connecting, inspection, maintenance

   and/or repair of the Trailer.

                  93.     The aforesaid accident and injuries were caused wholly and solely

   by the negligence, carelessness, lack of care, recklessness, departure from standards of

   care and/or wanton disregard of the safety of others on the part of Defendant First Coast,

   its agents, servants and/or employees, in the ownership, leasing, control, supervision,

   possession, servicing, maintenance, inspection and/or repair of the Trailer including, but

   not limited to, the Trailer’s tires including, but not limited to, the tire which became

   separated as aforesaid and/or in negligently failing to give proper warnings of the known

   dangers presented by the dangerous and defective Trailer.

                  94.     The aforesaid accident and injuries were caused wholly and solely

   by the negligence, carelessness, lack of care, recklessness, departure from standards of

   care and/or wanton disregard of the safety of others on the part of Defendant First Coast,

   its agents, servants and/or employees, in the connecting or hitching of the Trailer to the

   Truck.



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                  95.     The aforesaid accident and injuries were caused wholly and solely

   by Defendant First Coast’s heedless disregard of the rights of others and its violation of

   traffic and other laws, rules and regulations including, but not limited to, the following:

   96.    (i) Title 40, Chapter 8, Part 1 of the Georgia State Code (titled, “Driving unsafe or

   97.    improperly equipped vehicle ...”), O.C.G.A. § 40-8-7(a) et seq.; and, (ii) Title 40,

   Chapter 8, Part 4 of the Georgia State Code (titled, “Tires”), O.C.G.A. § 40-8-74 and its

   subsections including subsections (a)-(c) and (e) thereof.

                  98.     As a result of the foregoing, Plaintiffs were injured and damaged

   as aforesaid, and Plaintiffs are thereby entitled to a damages award in an amount that

   exceeds the jurisdictional limits of this Court.

                                THIRD CLAIM FOR RELIEF

   (Strict Product Liability--Design Defect--as Against
   Defendants Cherokee, Mager, Aylesworth and/or First Coast)

                  99.     Plaintiffs hereby repeat and reallege each and every allegation

   contained in the paragraphs above as if fully set forth herein.

                  100.    Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, participated in the sale, marketing, distribution,

   deliverance, and/or maintenance of a product, to wit, the aforesaid Trailer and its tires,

   including the tire which separated as aforesaid, which product said defendants, among

   other things, placed in the channels of intrastate and/or interstate trade, placed in the

   stream of intrastate and/or interstate commerce, and/or placed into the stream of




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   intrastate and/or interstate vehicular traffic, in Florida, Georgia, points in between and

   elsewhere.

                  101.    Said defendants, their agents, servants or employees, sold,

   distributed and/or maintained an inherently defective product because the product’s

   design was defective and unsafe.

                  102.    The aforesaid design defect rendered the product inherently unsafe

   for its intended use and unreasonably dangerous.

                  103.    Said defendants thus breached a duty to market safe products.

                  104.    The utility of the aforesaid defectively designed product did not

   outweigh its risk.

                  105.    The aforesaid design defect created a substantial likelihood of

   harm.

                  106.    The design defect was a substantial factor in causing the accident

   and injuries complained of.

                  107.    The aforesaid product as designed remained unchanged and was in

   the same condition at the time of design and/or manufacture as it was at the time of the

   subject accident and injury.

                  108.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth above, and Plaintiffs are thereby




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   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                             FOURTH CLAIM FOR RELIEF

   (Strict Product Liability—Manufacturing/Assembly Defect--as Against
   Defendants Cherokee, Mager, Aylesworth and/or First Coast)

                  109.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in paragraphs “1” to “96” above as if fully set forth herein.

                  110.    Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, participated in the sale, marketing, distribution,

   deliverance, and/or maintenance of a product, to wit, the aforesaid Trailer and its tires,

   including the tire which separated as aforesaid, which product said defendants, among

   other things, placed in the channels of intrastate and/or interstate trade, placed in the

   stream of intrastate and/or interstate commerce, and/or placed into the stream of

   intrastate and/or interstate vehicular traffic, in Florida, Georgia, points in between and

   elsewhere.

                  111.    Said defendants, their agents, servants or employees, sold,

   distributed, marketed and/or maintained an inherently defective product because there

   was a defect in the manufacturing, assembly and/or fabrication process with respect to

   the product and said product was thus defective and unsafe.

                  112.    The aforesaid manufacturing/assembly/fabrication defect rendered

   the product inherently unsafe for its intended use and unreasonably dangerous.

                  113.    Said defendants thus breached a duty to market safe products.


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                  114.    The utility of the aforesaid defectively manufactured, assembled

   and/or fabricated product did not outweigh its risk.

                  115.    The aforesaid manufacturing/assembly/fabrication defect created a

   substantial likelihood of harm.

                  116.    The aforesaid manufacturing/assembly/fabrication defect was a

   substantial factor in causing the accident and injuries complained of.

                  117.    The aforesaid product, as manufactured, assembled and/or

   fabricated, remained unchanged and was in the same condition at the time

   manufacture/assembly/fabrication as it was at the time of the subject accident and injury.

                  118.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                              FIFTH CLAIM FOR RELIEF

   (Strict Product Liability—Failure To Warn--As Against
   Defendants Cherokee, Mager, Aylesworth and/or First Coast)

                  119.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in the paragraphs above as if fully set forth herein.

                  120.    Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, participated in the sale, marketing, distribution,

   deliverance, and/or maintenance of a product, to wit, the aforesaid Trailer and its tires,




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   including the tire which separated as aforesaid, which product said defendants, among

   other things, placed in the channels of intrastate and/or interstate trade, placed in the

   stream of intrastate and/or interstate commerce, and/or placed into the stream of

   intrastate and/or interstate vehicular traffic, in Florida, Georgia, points in between and

   elsewhere.

                  121.    Said defendants, their agents, servants or employees, sold,

   distributed, marketed and/or maintained an inherently defective product and/or a product

   with latent dangers for the reasons set forth above.

                  122.    Said defendants, their agents, servants and/or employees, had a

   duty to warn against latent dangers from foreseeable uses of the product of which

   defendants knew or should have known.

                  123.    Said defendants, their agents, servants and/or employees knew, or

   should have shown, of the aforesaid latent dangers.

                  124.    Said defendants, their agents, servants and/or employees breached

   their duty when they failed to give proper and timely warnings of the aforesaid dangers

   under the circumstances then and there prevailing.

                  125.    Said defendants thus breached a duty to market safe products.

                  126.    The aforesaid failure to warn created a substantial likelihood of

   harm.

                  127.    The aforesaid failure to warn was a substantial factor in causing

   the accident and injuries complained of.


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                  128.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                              SIXTH CLAIM FOR RELIEF

   (Product Liability—Negligent Design—as Against Defendants
   Cherokee, Mager, Aylesworth and/or First Coast)

                  129.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in paragraphs “1” through “96” above as if fully set forth herein.

                  130.    Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, participated in the sale, marketing, distribution,

   deliverance, and/or maintenance of a product, to wit, the aforesaid Trailer and its tires,

   including the tire which separated as aforesaid, which product said defendants, among

   other things, placed in the channels of intrastate and/or interstate trade, placed in the

   stream of intrastate and/or interstate commerce, and/or placed into the stream of

   intrastate and/or interstate vehicular traffic, in Florida, Georgia, points in between and

   elsewhere.

                  131.    Defendants, their agents, servants or employees, owed a duty that

   the aforesaid product was safe and designed and maintained in such a way that made the

   product safe for its intended purpose.




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                  132.   Defendants Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, negligently designed and maintained the aforesaid

   defective product.

                  133.   The aforesaid negligence created a substantial likelihood of harm.

                  134.   The aforesaid negligence was a substantial factor in causing the

   accident and injuries complained of.

                  135.   As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                            SEVENTH CLAIM FOR RELIEF

   (Product Liability—Negligent Manufacture, Assembly and/or Fabrication —As
   Against Defendants Cherokee, Mager, Aylesworth and/or First Coast)

                  136.   Plaintiffs hereby repeat and reallege each and every allegation

   contained in paragraphs “1” through “96” above as if fully set forth herein.

                  137.   Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, participated in the sale, marketing, distribution,

   deliverance, and/or maintenance of a product, to wit, the aforesaid Trailer and its tires,

   including the tire which separated as aforesaid, which product said defendants, among

   other things, placed in the channels of intrastate and/or interstate trade, placed in the

   stream of intrastate and/or interstate commerce, and/or placed into the stream of




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   intrastate and/or interstate vehicular traffic, in Florida, Georgia, points in between and

   elsewhere.

                  138.    Defendants, their agents, servants or employees, owed a duty that

   the aforesaid product was safe and manufactured, assembled and/or fabricated in such a

   way that made the product safe for its intended purpose.

                  139.    Defendants Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, negligently manufactured, maintained, assembled and/or

   fabricated the aforesaid defective product.

                  140.    The aforesaid negligence created a substantial likelihood of harm.

                  141.    The aforesaid negligence was a substantial factor in causing the

   accident and injuries complained of.

                  142.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                             EIGHTH CLAIM FOR RELIEF

   (Product Liability--Breach Of Implied Warranty--as Against Defendants
   Cherokee, Mager, Aylesworth and/or First Coast)

                  143.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in paragraphs “1” through “96” above as if fully set forth herein.




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                  144.   Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, participated in the sale, marketing, distribution,

   deliverance, and/or maintenance of a product, to wit, the aforesaid Trailer and its tires,

   including the tire which separated as aforesaid, which product said defendants, among

   other things, placed in the channels of intrastate and/or interstate trade, placed in the

   stream of intrastate and/or interstate commerce, and/or placed into the stream of

   intrastate and/or interstate vehicular traffic, in Florida, Georgia, points in between and

   elsewhere.

                  145.   Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, owed a duty and warranted that the aforesaid product was

   merchantable, was minimally safe and was fit for the ordinary purpose(s) for which such

   product was used.

                  146.   Defendants, Cherokee, Mager, Aylesworth and/or First Coast, their

   agents, servants or employees, breached the aforesaid duty and breached said warranty

   because the aforesaid product was not minimally safe and was not fit for the ordinary

   purpose(s) for which such product was used.

                  147.   At the time of the within accident, the product was being used for

   its usual and ordinary purpose.

                  148.   At the time of the accident, it was reasonable to expect and

   reasonably foreseeable that Plaintiffs would be affected by the product.




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                  149.    As a result there arose an implied warranty for the benefit of the

   Plaintiffs.

                  150.    The aforesaid breach of duty and breach of warranty/implied

   warranty created a substantial likelihood of harm.

                  151.    The aforesaid breach of duty and breach of warranty/implied

   warranty was a substantial factor in the accident and injury herein complained of.

                  152.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                              NINTH CLAIM FOR RELIEF

   (Multiple Product Liability Claims as Against Defendant Justice)

                  153.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.

                  154.    Defendant Justice participated in the sale, marketing, distribution,

   deliverance, and/or maintenance of a product, to wit, the aforesaid Trailer and its tires,

   including the tire which separated as aforesaid, which product said defendant, among

   other things, placed in the channels of intrastate and/or interstate trade, placed in the

   stream of intrastate and/or interstate commerce, and/or placed into the stream of

   intrastate and/or interstate vehicular traffic, in Florida, Georgia, points in between and




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   elsewhere, to the same extent as did defendants Cherokee, Mager, Aylesworth and/or

   First Coast as set forth above.

                  155.    Defendant Justice is thus liable to plaintiffs under the Third,

   Fourth, Fifth, Sixth, Seventh, and Eighth claims for relief herein to the same extent that

   Defendants Cherokee, Mager, Aylesworth and/or First Coast, their agents, servants or

   employees, are so liable.

                  156.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                               TENTH CLAIM FOR RELIEF

   (Res Ipsa Loquitur as Against All Defendants)

                  157.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.

                  158.    The instrumentalities at issue, to wit, the Trailer and its tires,

   including the tire that separated as aforesaid, were in the exclusive control of the

   defendants, their agents, servants and/or employees.

                  159.    The accident which occurred is of the kind that ordinarily does not

   occur in the absence of negligence.

                  160.    The aforesaid accident and consequent injuries sustained by

   plaintiffs herein were caused wholly and solely by the negligence, carelessness and/or



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   recklessness of the defendants, their agents, servants and employees, in the exclusive

   control of the aforesaid instrumentalities without any fault, want of care or voluntary or

   culpable conduct on the part of the plaintiffs contributing thereto.

                  161.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                           ELEVENTH CLAIM FOR RELIEF

   (Zone Of Danger Claims On Behalf Of Plaintiffs L.M.C.,
   M.S.C. and Carmen Bastidas as Against All Defendants)

                  162.    Plaintiffs L.M.C., M.S.C. and Carmen Bastidas hereby repeat and

   reallege each and every allegation contained in the above paragraphs as if fully set forth

   herein.

                  163.    At the aforesaid time and place of the accident, Plaintiffs L.M.C.,

   M.S.C. and Carmen Bastidas were situated in the zone of danger created by the aforesaid

   negligence, acts, and/or omissions as well as the circumstances of the accident.

                  164.    At the aforesaid time and place of the accident, Plaintiffs L.M.C.,

   M.S.C. and Carmen Bastidas were, and still are, immediate family members of Plaintiff

   Elizabeth Bastidas.

                  165.    By their acts and omissions as aforesaid, all the Defendants, their

   agents, servants and/or employees, negligently, carelessly and/or recklessly exposed




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   Plaintiffs L.M.C., M.S.C. and Carmen Bastidas to an unreasonable risk of bodily injury

   or death.

                    166.    By reason of the foregoing, Plaintiffs L.M.C., M.S.C. and Carmen

   Bastidas feared for their own physical safety.

                    167.    The peril or harm which befell Plaintiff Elizabeth Bastidas as

   aforesaid occurred in the direct and proximate presence of Plaintiffs L.M.C., M.S.C. and

   Carmen Bastidas.

                    168.    At the time of the accident and Plaintiff’s Elizabeth Bastidas’

   serious     injury,   Plaintiffs   L.M.C.,   M.S.C.    and   Carmen   Bastidas   timely or

   contemporaneously observed said accident and injury.

                    169.    At the time of the accident and Plaintiff’s Elizabeth Bastidas’

   serious injury, Plaintiffs L.M.C., M.S.C. and Carmen Bastidas had a timely or

   contemporaneous awareness of said accident and injury.

                    170.    As a result of observing their immediate family member involved

   in an accident and seriously injured as aforesaid, or being aware thereof, and while

   situated in the zone of danger themselves, Plaintiffs L.M.C., M.S.C. and Carmen Bastidas

   sustained serious, personal injuries including, but not limited to, psychological injuries,

   emotional distress, and/or mental anguish and/or trauma.

                    171.    As a direct and proximate cause of the foregoing, Plaintiffs

   L.M.C., M.S.C. and Carmen Bastidas have been injured and damaged as more fully set




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   forth herein, and Plaintiffs are thereby entitled to a damages award in an amount that

   exceeds the jurisdictional limits of this Court.

                             TWELFTH CLAIM FOR RELIEF

   (Negligent Infliction of Emotional Distress as Against All Defendants)

                   172.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.

                   173.    For the reasons set forth above Defendants, their agents, servants

   and/or employees, owed a duty to Plaintiffs and breached said duty.

                   174.    Defendants’ conduct as aforesaid was so extreme in degree and

   outrageous in character as to go beyond all possible bounds of decency, so as to be

   regarded as atrocious and utterly intolerable in a civilized community; and/or their

   negligence was so gross as to reasonably imply malice; and/or their conduct evinced an

   entire want of care or attention to duty; and/or their conduct evinced a great indifference

   to the persons, property, or rights of others.

                   175.    Defendants’ conduct unreasonably and directly endangered the

   Plaintiffs’ physical safety.

                   176.    Defendants’ conduct unreasonably and directly caused the

   Plaintiffs to fear for their own physical safety.

                   177.    As a result of the foregoing, Plaintiffs sustained serious, personal

   injuries including, but not limited to, psychological injuries, emotional distress, and/or

   mental anguish and/or trauma.



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                  178.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                          THIRTEENTH CLAIM FOR RELIEF

   (Breach of Contract of an Inherently Dangerous Nature as Between
   Defendant First Coast and Defendants Cherokee, Mayer and/or Aylesworth)

                  179.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.

                  180.    Defendant First Coast contracted with Defendants Cherokee,

   Mayer and Aylesworth to purchase the Trailer from the latter Defendants.

                  181.    Among other things, Defendants Cherokee, Mayer and Aylesworth

   had a contractual duty to Defendant First Coast to sell and deliver a Trailer that was

   reasonably safe for its intended use.

                  182.    Among other things, Defendants Cherokee, Mayer and Aylesworth

   had a contractual duty to Defendant First Coast to maintain, service, inspect and/or repair

   the Trailer.

                  183.    Among other things, Defendants Cherokee, Mayer and Aylesworth

   were independent contractors working under a contract with Defendant First Coast.

                  184.    For the reasons previously set forth herein, Defendants Cherokee,

   Mayer and/or Aylesworth breached their contract with First Coast.




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                  185.    Although not a party to said contract, Plaintiffs were nonetheless

   injured as a result of said breach of contract.

                  186.    The nature and subject matter of the aforesaid contract, and/or the

   work of the independent contractors, was inherently dangerous and/or involved

   inherently dangerous work, to wit, maintaining, servicing, inspecting, repairing and/or

   providing vehicles to be used for travel and transport on public highways at speeds up to

   70 miles per hour.

                  187.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                          FOURTEENTH CLAIM FOR RELIEF

   (Breach of Contract of an Inherently Dangerous Nature as Between
   Defendants First Coast and Defendant Justice)

                  188.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.

                  189.    Defendant First Coast contracted with Defendant Justice to lease

   the trailer to Justice for a specified period of time and/or miles.

                  190.    Among other things, Defendant First Coast had a contractual duty

   to lease and deliver to Justice a Trailer that was reasonably safe for its intended use.




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                  191.    Among other things, Defendant First Coast had a contractual duty

   to Defendant Justice to maintain, hitch, connect, service, inspect and/or repair the Trailer.

                  192.    Among other things, Defendant First Coast was an independent

   contractor working under a contract with Defendant Justice.

                  193.    For the reasons previously set forth herein, Defendant First Coast

   breached its contract with Defendant Justice.

                  194.    Although not a party to said contract, Plaintiffs were nonetheless

   injured as a result of said breach.

                  195.    The nature and subject matter of the aforesaid contract was

   inherently dangerous and/or involved inherently dangerous work or subject matter, to

   wit, maintaining, servicing, inspecting, repairing and/or providing vehicles to be used for

   travel and transport on public highways at speeds up to 70 miles per hour.

                  196.    As a direct and proximate cause of the foregoing, Plaintiffs have

   been injured and damaged as more fully set forth herein, and Plaintiffs are thereby

   entitled to a damages award in an amount that exceeds the jurisdictional limits of this

   Court.

                           FIFTEENTH CLAIM FOR RELIEF

   (Gross Negligence Requiring Punitive
   Damages as Against All Defendants)

                  197.    Plaintiffs hereby repeat and reallege each and every allegation

   contained in the above paragraphs as if fully set forth herein.




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                  198.    The actions, failures and/or omissions of the Defendants, their

   agents, servants and/or employees, as set forth herein, rises to the level of gross and/or

   extreme carelessness, recklessness and/or negligence and is wanton and is a complete and

   utter disregard for the safety and lives of other persons including, but not limited to,

   persons using a public highway.

                  199.    By reason of the foregoing, Defendants should be held to answer,

   in addition to any other damages awarded herein, in punitive damages in an amount that

   exceeds the jurisdictional limit of this Court and Plaintiffs hereby make claim for the

   same.

                                  SIXTEENTH CLAIM FOR RELIEF

   (Derivative Loss of Society Claim on Behalf of Plaintiff
   Carmen Bastidas as Against All Defendants)

                  200.    Plaintiff Carmen Bastidas hereby repeats and realleges each and

   every allegation contained in the above paragraphs as if fully set forth herein.

                  201.    Plaintiff Carmen Bastidas is the natural mother of Plaintiff

   Elizabeth Bastidas.

                  202.    By reason of the aforesaid injuries and consequent injuries

   sustained, Plaintiff Carmen Bastidas has been, and will continue to be, compelled to

   expend time, money and efforts and provide services for the care and treatment of her

   natural daughter.




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                  203.    By reason of the aforesaid injuries and consequent injuries

   sustained, Plaintiff Carmen Bastidas has been, and will continue to be, deprived of the

   services, society and companionship of her natural daughter.

                  204.    By reason of the foregoing, Plaintiff Carmen Bastidas has suffered

   and will continue to suffer lost earnings, lost income, and/or lost social, business and

   other opportunities.

                  205.    As a direct and proximate cause of the foregoing, Plaintiff Carmen

   Bastidas has been injured and damaged as more fully set forth herein, and Plaintiff is

   thereby entitled to a damages award in an amount that exceeds the jurisdictional limits of

   this Court.

                 WHEREFORE, Plaintiffs are entitled to an entry of judgment against the
   Defendants as follows:

                  1.      On behalf of Plaintiff Elizabeth Bastidas with respect to the First,

   Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, Twelfth, Thirteenth,

   and Fourteenth Claim for Relief as follows:

                  (a)     awarding compensatory damages in an amount to be determined at

                          trial, but believed to be not less than Thirty Million Dollars

                          ($30,000,000) for, among other things, serious personal injuries,

                          and pain and suffering, as aforesaid with appropriate pre- and post-

                          judgment interest;

                  (b )    awarding special damages in an amount to be determined at trial,

                          but believed to be not less than Five Million Dollars $5,000,000



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                         for, among other things, lost earnings as well as lost business and

                         other opportunities, with appropriate pre- and post-judgment

                         interest;

                   (c)   awarding reasonable attorney’s fees and costs;

                   (d)   awarding out of pocket expenses and incidental financial losses

                         incurred by said Plaintiff as a result of the complained of

                         occurrence; and,

                   (e)   awarding such other and further relief as the Court deems just and

         proper;

                   2.    On behalf of Plaintiffs L.M.C., M.S.C. and Carmen Bastidas with

         respect to the First, Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth,

         Tenth, Eleventh, Twelfth, Thirteenth, and Fourteenth Claim for Relief as follows:

                   (a)   awarding compensatory damages in an amount to be determined at

                         trial, but believed to be not less than $2,000,000 for each such

                         Plaintiff for, among other things, serious personal injuries as

                         aforesaid including but not limited to, injuries of a psychological

                         nature including, but not limited to, severe emotional distress, with

                         appropriate pre- and post-judgment interest;

                   (b)   awarding reasonable attorney’s fees and costs;




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